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Attorneys to Committee of Unsecured Creditors

                              UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MONTANA

                                                       )
In re:                                                 ) Chapter 11
                                                       )
Roman Catholic Bishop of Great Falls, Montana,         )
a Montana Religious Corporation Sole (Diocese          ) Bankruptcy Case No. 17-60271-JDP
of Great Falls - Billings),                            )
                                                       )
                            Debtor-in-Possession       )
                                                       )

Official Committee of Unsecured Creditors                Adv. Proc. No. ________________

                            Plaintiff,

         v.

Roman Catholic Bishop of Great Falls, Montana,
A Montana Religious Corporation Sole, Mary
Queen of Peace, Billings, Montana; Our Lady of
Lourdes Parish, Great Falls, Montana, Holy
Family Parish Great Falls Montana, St Barnard
(Billings); St Patrick Co-Cathedral (Billings); St
Joseph (Plentywood); Holy Spirit (Great Falls);
St Mary (Livingston); St Pius X (Billings); St
John The Evangelist Church (Baker); St Bernard
Church (Charlie Creek), St Theresa (Lambert);
Corpus Christi (Great Falls) and St Anthony
Church (Culbertson)

                            Defendants.
COMPLAINT FOR DECLARATORY
RELIEF REGARDING PROPERTY
OF THE ESTATE

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             COMPLAINT FOR DECLARATORY RELIEF AND QUIET TITLE


                  The Official Committee of Unsecured Creditors (the “Committee”) of the Roman

Catholic Bishop of Great Falls, Montana, a Montana Religious Corporation Sole, Diocese of Great Falls-

Billings (“DGFM”) brings this adversary proceeding against the defendants named herein and alleges as

follows:

                                             INTRODUCTION

                  1.        DGFM contends that assets to which it held or holds undisputed legal title

were or are held in trust or otherwise for the benefit of its Parishes or other parts of itself. As a

result, DGFM contends the assets were or are not part of its estate and thus cannot be reached by

creditors of DGFM, including the survivors of sex abuse comprising the Committee’s

constituency.

                  2.        DGFM has previously acknowledged that the Parishes are not separate

legal persons or entities but are part of DGFM akin to divisions of a for-profit-corporation.

Accordingly, they may not hold title to property or be the beneficiaries of a trust.

                  3.        The resolution of this litigation is critical to DGFM’s chapter 11 estate

because it will determine the magnitude of distributions to its creditors, including the survivors

of the childhood sex abuse enabled by DGFM or whether DGFM can continue to avoid being

held accountable to the survivors.




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                                              JURISDICTION

                  4.        This Court has jurisdiction over the instant adversary proceeding pursuant

to 28 U.S.C. §§ 157(b)(1) and 1334; 11 U.S.C. § 105; and Federal Rules of Bankruptcy

Procedure 7001 and 7013.

                  5.        Venue in this judicial district is appropriate pursuant to 28 U.S.C. § 1409.

                  6.        This adversary proceeding, constitutes a core proceeding pursuant to 28

U.S.C. § 157(b)(2)(A), (E) and (O).

                                                 PARTIES

                  7.        On or about May 1, 2017, the United States Trustee appointed, the

Committee, to represent DGFM’s unsecured creditors pursuant to 11 U.S.C. § 1102(a)(1).

                  8.        The Roman Catholic Bishop of Great Falls Montana, a Montana

Corporation Sole, is doing business as the Diocese of Great Falls Montana.

                  9.        The following are parishes DGFM located in the State of Montana: Holy

Rosary Parish, Billings, Montana; Our Lady of Lourdes Parish, Great Falls, Montana, Holy

Family Parish Great Falls Montana, St Barnard (Billings); St Patrick Co-Cathedral (Billings); St

Joseph (Plentywood); Holy Spirit (Great Falls); St Mary (Livingston); St Pius X (Billings); St John

The Evangelist Church (Baker); St Bernard Church (Charlie Creek), St Theresa (Lambert); Corpus

Christi (Great Falls) and St Anthony Church (Culbertson). These parishes are sometimes

collectively referred to herein as the “Parishes”.




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                                   THE DGFM BANKRUPTCY CASE

                  10.       On March 31, 2017 (the “Petition Date”), DGFM filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code, 11 U.S.C. §101 et seq. (the

“Bankruptcy Code”). DGFM continues to operate its business as a debtor in possession.

                  11.       DGFM’s commencement of the above-captioned bankruptcy case as of the

Petition Date created an “estate” as defined in 11 U.S.C. § 541(a).

                        PROPERTY OWNED BY DGFM WHICH IT CLAIMS
                             IS NOT PROPERTY OF THE ESTATE

                  12.       On March 31, 2017, pursuant to 11 U.S.C. § 521 and Bankruptcy Rule

1007(b), DGFM filed its Statement of Financial Affairs and its Schedules of Assets and

liabilities. On June 9, 2017, DGFM filed an Amended Statement of Financial Affairs and

Schedules A and B.

         Purported Parish Property

                  13.       DGFW holds legal title to real property which it contends is not property

of the estate because it is held in trust for the benefit of its Parishes and other institutions.

Schedule A/B:Assets-Real and Personal. Part 9, 55.1 Property [Dkt. No. 1].

                  14.       The property DGFM contends it holds in trust for its Parishes and other

institutions is listed on Exhibit 7 to DGFM’s Schedules of Assets. A true copy of Exhibit 7 is

attached hereto as Exhibit A and incorporated herein by reference. The real property listed on

Exhibit A is referred to herein as the “Disputed Real Property” and the trust or trusts that

DGFM alleges it holds the Disputed Real Property in are referred to herein as the “Disputed

Real Property Trusts”.
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                  15.       In Exhibit A, DGFM contends the tax assessed value of the Disputed Real

Property exceeds $70,000,000.

         The Gergen Trust.

                  16.       Prior to this death, Father Gergen created a testamentary trust (the

“Gergen Trust”) consisting of, among other things, an investment portfolio and mineral rights.

A true copy of the Gergen Trust is attached hereto as Exhibit B and incorporated herein by

reference.

                  17.       Pursuant to the express language of the Gergen Trust, Father Gergen made

an absolute and unrestricted transfer of the residual assets of the Gergen Trust to DGFM.

                  18.       Notwithstanding the absolute and unrestricted transfer of the assets of the

Gergen Trust to DGFM, DGFM contends it holds the assets transferred to it from the Gergen

Trust, in trust for the “Gergen Beneficiaries”. The Committee is informed and believes that the

Gergen Beneficiaries include the following unincorporated parishes: (i) Mary Queen of Peace

Billings; (ii); Our Lady of Lourdes Parish, Great Falls, Montana; and (iii) Holy Family Parish

Great Falls Montana.

                  19.       Schedule B, Personal Property, to DGFM’s Schedules of Assets and

Liabilities, indicates that DGFM holds legal title to certain cash and investment accounts relating

to the Gergen Trust which it holds for the benefit of others and therefore does not constitute

property of the estate (“Disputed Gergen Trust Property”). The Disputed Gergen Trust

Property is listed on exhibits 1 and 3 to the Schedules and includes the following personal

property:


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         RBC Wealth Management – Gergen Estate Trust Fund - Stocks
         Held in Trust fbo Gergen Beneficiaries
         Approx Value: $1,086,467.45

         Federal Farm Credit Bank
         RBC Wealth Management – Gergen Estate Trust Fund - Bonds
         Held in Trust fbo Gergen Beneficiaries
         Approx Value: $368,763.35

         Checking – Msgr E. Gergen Estate Account
         FBO Gergen Beneficiaries
         U.S. Bank
         Approx Value: $16,221.09

         Purported Restricted Funds.

                  20.        DGFM contends that that “U.S. Bank Stock” valued at $2,096,258.06

and “U.S. Bank-Bonds valued at $1,001,048.20 are “Permanently Restricted Funds” which it

refers to as the Seminary Burse Fund and the Cemetery Care Funds. Schedule A/B Part 4, 14.1

and 16.1.

                  21.       The Committee is informed and believes that the original source of

funding for the Cemetery Care Funds and the Seminary Burse Fund (and potentially the

Seminary Exigency Fund which appears to be related to the Seminary Burse Fund) may not have

been restricted to the uses DGFM contends (collectively the “Purported Restricted Funds”).

                  22.       The Committee is informed and believes that these funds were not

consistently segregated from unrestricted funds, but instead were commingled in bank and

brokerage accounts with unrestricted cash and financial assets of DGFM.

         The Deposit and Loan Fund.

                  23.       Until late 2016, DGFM owned legal title to, and operated and maintained

the Diocese of Great Falls-Billings Deposit and Loan Fund (the “DLF”).


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                  24.       The DLF consisted of both operating accounts containing cash and

investment accounts containing stocks, bonds and other financial assets.

                  25.       The Committee is informed and believes that the funds in the DLF were

initially deposited into the operating accounts (by Parishes and others affiliated with DGFM and

that purport to have an interest in the DLF) where the funds were immediately commingled with

DGFM’s unrestricted cash before any transfers were made from the operating accounts into the

DLF investment accounts.

                  26.       The Committee is informed and believes that the timing of these periodic

transfers from the operating accounts into the DLF accounts were unrelated to when cash was

deposited into the operating accounts but rather were entirely driven by liquidity and cash

management needs of DGFM.

                  27.       Beginning In the fall or summer of 2016 and continuing through the early

part of 2017, DGFM transferred cash and investment assets from its DLF valued at in excess of

$15,500,000 to CASC without receiving consideration (the “DLF Transfers”).

                  28.       DGFM has acknowledged in pleadings recently filed with this Court that

the DLF “in a nutshell, is the ‘bank’ for savings accounts for the Parishes” thus admitting that

the relationship between the Parishes and DGFM was that of debtor/creditor rather than

trustee/beneficiary. Limited Objection to Motion of the Official Committee of Unsecured

Creditors for Exclusive and Irrevocable Authority to Commence, Prosecute and Settle Litigation,

and Notice of Hearing [Doc. #:230] filed by DGFM on November 16, 2017.




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                  29.       DGFM owned all legal and beneficial interests in all assets in the DLF at

the time of the DLF Transfers.

                  30.       Schedule B, Personal Property, to DGFM’s Schedules of Assets and

Liabilities, indicates that CASC owns certain cash and investment accounts for the “benefit of

D&L Fund” and which does not constitute property of the estate. This personal property is listed

on exhibits 1 and 3 to the Schedules and includes the following personal property which the

Committee is informed and believes is commonly referred to as the Deposit and Loan Fund:

         U.S. Bank Trust Stocks
         Diocese of Great Falls-Billings Capital Asset Support Corporation (“CASC”) Fund
         Owned by CASC for Benefit of D&L Fund-- Approx Value: $7,334,487.50.

         CASC - Catholic United Investment Trust International Equity Fund
         Approx Value: $1,221,685.87

         CASC – Catholic Extension Mission Diocese Fund
         Mission Diocese Fund, LLC
         Approximate Value: $667,577.92

         U.S. Bank Trust Bonds and Notes
         Diocese of Great Falls-Billings CASC
         Owned by CASC for Benefit of D&L Fund
         Approx Value: $4,325,726.50

         Checking – CASC
         Juridic Persons Deposit and Loan Account Owned by a Separate Incorporated Entity U.S.
         Bank
         Approx Value: $2,489,507.44

                  31.       In response to Question 21 on its Statement of Financial Affairs, DGFM

contends that cash accounts valued at $2,508,089.29 (listed on Exhibit 1) and investment

accounts valued at $15,004,708 (listed on Exhibit 3) are held or controlled by DGFM but owned

by other entities.



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                                 DGFM’S CORPORATE STRUCTURE

                  32.       The Roman Catholic Bishop of Great Falls is incorporated under Montana

law as a “Corporation Sole”. The Bishop holds legal title to all real and personal property of

DGFM, including the property of the Parishes.

                  33.       DGFM acknowledges that its Parishes are not separate persons or entities

but rather are mere “operating divisions.” Central Administrative Office of the Roman Catholic

Bishop of Great Falls of Montana, a Corporation Sole, Financial Statements as of June 30, 2016,

and 2015, n.1. A true copy of relevant portions of the financial statements are attached hereto as

Exhibit C and incorporated herein by reference.

                  34.       DGFM acknowledges that its Parishes do not hold title to property in its

Policies Relation to Temporal Matters-Diocese of Great Falls-Billings (“Policies”) at 2. True

copies of relevant Portions of DGFM’s Policies are attached hereto as Exhibit D and

incorporated herein by reference.

                  35.       GFDM acknowledges that “since the Roman Catholic Bishop of Great

Falls, Montana, a Corporation Sole, is the only legal entity in the diocese, no parish or other

entity under the jurisdiction of the Bishop of the Diocese of Great Falls-Billings may enter into

or execute contracts, leases, or other legal documents.” Policies, at p. 22 (emphasis added); see

also Policies at p. 31.

                  36.       No parish may enter into contracts, leases or other legal instruments.

(Policies at 31).




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                  37.       The Disputed Real Property is owned by the Roman Catholic Bishop of

Great Falls Montana. (Policies at 21).

                  38.       The Parishes are not legal persons or entities and have no separate legal

existence from DGFM.

                                      FIRST CLAIM FOR RELIEF

(Declaratory Relief: The Parishes are not separate legal persons or entities and cannot hold
                     title to property or be the beneficiaries of a trust)

                  39.       The Committee repeats and realleges each of the allegations contained in

paragraphs 1 through 37 above as if fully set forth here.

                  40.       The Committee contends that the Parishes cannot hold legal title to

property or be the beneficiaries of a trust and that all of the Disputed Real Property is property of

the estate under section 541(a) of the Bankruptcy Code.

                  41.       DGFM claims, or may claim, that each of the Parishes may hold title to

the Disputed Real Property or be the beneficiary of a trust and that the Disputed Real Property is

not property of the estate under section 541(a) of the Bankruptcy Code.

                  42.       An actual controversy exists with respect to whether the Parishes are legal

persons or entities separate from DGFM and may hold title to property or be the beneficiaries of

a trust and whether the Disputed Real Property is property of the estate.

                                     SECOND CLAIM FOR RELIEF

             (Declaratory Relief: The Disputed Real Property Trusts are void under
              the doctrine of merger and the Disputed Real Property is property of
                        DGFM’s estate pursuant to 11 U.S.C § 541(a)(1))



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                  43.       The Committee repeats and realleges each of the allegations contained in

paragraphs 1 through 41 above as if set forth here.

                  44.       Under the doctrine of merger, a valid trust cannot exist where, as here, the

same person (DGFM) is both the sole trustee and beneficiary of the Disputed Real Property

Trusts. (MCA section 72-38-402(1)(e)).

                  45.       The Committee contends that the Disputed Real Property Trusts,

purportedly created by DGFM for the benefit of its Parishes, are void under the doctrine of

merger and that all Disputed Real Property is property of the estate.

                  46.       Defendants claim, or may claim, that the Disputed Real Property Trusts

DGFM purportedly created are valid and the Disputed Real Property is held in trust for the

Parishes.

                  47.       An actual controversy exists with respect to the whether the Disputed Real

Property Trusts are void under the doctrine of merger and whether the Disputed Real Property is

property of the estate.

                                      THIRD CLAIM FOR RELIEF

                                                (Quiet Title)

                  48.       The Committee repeats and realleges each of the allegations contained in

paragraphs 1 through 46 above as if set forth here.

                  49.       The Committee is informed and believes that none of the alleged

beneficial interests of Parishes, or any of them, in the Disputed Real Property were identified in

the vesting deeds granted to DGFM.


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                  50.       None of the alleged beneficial or equitable interests of the Parishes, or any

of them, in the Disputed Real Property were created, transferred or declared by an instrument in

writing and subscribed by the party creating, transferring or declaring the interest.

                  51.       The Committee is informed and believes that no notice of the alleged

beneficial or equitable interests of the Parishes, or any of them, in the Disputed Real Property is

recorded in the real estate records maintained in any county of the State of Montana.

                                     FOURTH CLAIM FOR RELIEF

                    (Declaratory Relief: The Disputed Gergen Trust Property is
                      property of DGFM’s estate under 11 U.S.C. § 541(a)(1))

                  52.       The Committee repeats and realleges each of the allegations contained in

paragraphs 1 through 50 above as if set forth here.

                  53.       Pursuant to the express language of the Gergen Trust, Father Gergen made

an absolute and unrestricted transfer of assets to DGFM.

                  54.            The Committee contends that the Disputed Gergen Trust Property is

an unrestricted asset of DGFM’s estate free and clear of the interests of any other person, which

may be used to pay its general creditors.

                  55.            The Gergen Beneficiaries, claim, or may claim, an interest in the

Disputed Gergen Trust Property and DGFM may claim that the Disputed Gergan Trust Property

is a permanently restricted asset not subject to the claims of general creditors.

                  56.       An actual controversy exists with respect to the interests of the estate in

the Disputed Gergen Trust Property and whether the Gergan Trust Property is a restricted or

unrestricted asset of the estate.

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                                      FIFTH CLAIM FOR RELIEF

                        (Declaratory Relief: The Purported Restricted Funds are
                                  unrestricted property of the estate)

                  57.       The Committee repeats and realleges each of the allegations contained in

paragraphs 1 through 55 above as if set forth here.

                  58.       The Committee contends that the Purported Restricted Funds are

unrestricted assets of DGFM’s estate which may be used to pay the claims of its creditors.

                  59.            DGFM claims that the Purported Restricted Funds are permanently

restricted assets of the DFGM estate, free and clear of the interests of any other person and are

not subject to the claims of general creditors.

                  60.       An actual controversy exists with respect to the interests of the estate in

the Purported Restricted Funds and whether or not these funds are in fact restricted.

                                      SIXTH CLAIM FOR RELIEF

  (Declaratory Relief: The Assets in the DLF were property of the estate at the time of the
                                       DLF Transfers

                  61.       The Committee repeats and realleges each of the allegations contained in

paragraphs 1 through 59 above as if set forth here.

                  62.       The Committee contends that all legal and beneficial interests in the DLF

were owned by DGFM at the time of the DLF Transfers.

                  63.       DGFM contends that the beneficial interests in the DLF were held by

others, including its Parishes, at the time of the DLF Transfers.




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                  64.       An actual controversy exists with respect to whether DGFM owned all

beneficial interests in the DLF Assets when they were transferred or whether it held them for the

benefit of its Parishes and others at the time of the DLF Transfers.


                  WHEREFORE, the Committee prays for judgment as follows:

                  1.        Declaring that the Parishes are not legal persons or entities separate from

DGFM under Montana law;

                  2.        Declaring that the Parishes may not hold title to property or be the

beneficiaries of a trust;

                  3.        Declaring that the Disputed Real Property is property of the estate;

                  4.        Declaring that the Disputed Real Property Trust is void and unenforceable

under the doctrine of merger and the Disputed Real Property is property of DGFM’s estate;

                  5.        Declaring that DGFM owns the Disputed Real Property free and clear of

any interests that were not created, transferred or declared in the deed or instrument transferring

the Disputed Real Property to DGFM or recorded in the appropriate county real estate records;


                  6.        Declaring that the Disputed Gergen Trust Property is an unrestricted asset

of the estate, free and clear of the interests of others and may be used to pay the claims of general

creditors;

                  7.        Declaring that the Purported Restricted Funds are unrestricted assets of the

estate, free and clear of the interests of others, and may be used to satisfy the claims of general

creditors;


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                  8.        Declaring that all legal and beneficial interests in the DLF were owned by

DGFM at the time of the DLF Transfers and that the assets in the DLF were not held in trust for

any of the Parishes or other third parties prior to the DLF Transfers; and

                  9.        For such other and further relief as the Court may deem just and proper.

Dated: December 18, 2017                          Respectfully submitted,

                                                  PACHULSKI STANG ZIEHL & JONES LLP


                                                  By:       /s/ James I. Stang
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                                                        of Unsecured Creditors




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                                  EXHIBIT A




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                                  EXHIBIT B




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                                  EXHIBIT C




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                                  EXHIBIT D




COMPLAINT FOR DECLARATORY
RELIEF REGARDING PROPERTY
OF THE ESTATE

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                                         TEMPORAL MATTERS POLICIES
                                                          Diocese of Great Falls-Billings
                          DIOCESAN DEPOSIT AND LOAN FUND POLICIES
DIOCESAN DEPOSIT AND LOAN FUND POLICIES

Purpose

 The Diocese has established a Deposit and Loan Fund (D&L Fund) to provide
 parishes, schools, and other diocesan entities with a means to save excess
 revenues and borrow funds for operating capital or capital improvements.

 Funds deposited in the D&L Fund remain the funds of the depositing parish, school,
 or other diocesan entity. The D&L Loan Fund holds funds in trust and administers
 them according to this policy. At all times, the deposit principal is guaranteed.

 Interest is paid to parishes, schools, and other diocesan entities at a rate which
 begins each year on July 1, established by the board of directors of the Diocese of
 Great Falls-Billings Juridic Persons Capital Assets Support Corporation (CASC).

 The funds on deposit in the D&L Fund may be loaned to diocesan parishes,
 schools, or other diocesan entities who, in accord with this policy, seek a diocesan
 loan for particular approved projects/needs. In this manner the Diocese assists
 parishes, schools, and other diocesan entities when short term operating capital
 needs arise, new construction, expansion, or renovation is required or when
 significant maintenance or repair is required. Such financial support is necessary in
 order to support the parishes, schools, and other diocesan entities in their various
 needs and to preserve and prolong the usefulness and maintenance of the
 buildings and grounds of diocesan institutions.

 Parishes, schools, and other diocesan entities may borrow only from the D&L Fund
 and may not borrow from outside financial institutions. Projects of a size that may
 prompt the use of outside borrowing will be coordinated and administered entirely
 by the D&L Fund.


Definitions

 The definitions below are provided for reference purposes only and are not formally
 a part of this policy.

 Unrestricted Donation An unrestricted donation is any gift that is given for the
 general use of or for the “greatest needs” of an organization. Unrestricted
 donations can be spent for any expense associated with operating an organization
 in the furtherance of its mission.

 Designated Fund     A designated fund consists of unrestricted donations that have


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been internally allocated to a specific purpose. An example of a designated fund
would be when an organization designates some excess revenue to the future
replacement of the parking lot. Another example of a designated fund would be a
quasi-endowment (see below).

Restricted Donation A restricted donation is any gift that includes a limitation,
placed upon the gift by a donor, as to how the gift may be used. Donors making a
restricted donation generally specify the limitations placed on the gift in a gifting
instrument. Restricted donations are always one of two types: temporarily
restricted or permanently restricted. It is important to note that only a third party
donor can create any form of legal restriction on a gift or a fund.

Temporarily Restricted Donation A temporarily restricted donation is a gift that is
donated subject to a purpose restriction or a time restriction. An example of a
purpose restriction would be a gift to be used to repair or replace the roof of the
church. An example of a time restriction would be a gift that could only be used in
the next budget year.

Permanently Restricted Donation A permanently restricted donation is a gift that
contains a limitation on use that is attached to it for perpetuity. A typical example
would be an endowment, the original amount of which can never be spent but the
earnings from which can be used for general or specific purposes. Another
example would be the perpetual care fund of a cemetery that is restricted by either
a donor or by law.

Endowment An endowment is one type of permanently restricted donation (see
above). The original amount of the endowment is often referred to as the “corpus”
and can never be spent. Earnings generated by an endowment can be either
unrestricted or temporarily restricted as specified by the donor. It is important to
note that no organization can permanently restrict funds into its own endowment.
Only a third party/donor can so permanently restrict funds.

Quasi-Endowment A quasi-endowment consists of unrestricted funds of an
organization which management choses to treat as an endowment for internal
purposes. It is important to note that quasi-endowments carry no legal restrictions
whatsoever and are neither temporarily restricted nor permanently restricted. A
quasi-endowment reflects a designation of unrestricted funds only and such
designation can be changed at any point in the future by management of an
organization.




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Reserves Allowed at Local Level

 Parishes, schools, and other diocesan entities are authorized to retain a short term
 operational reserve in local accounts of an amount equal to twenty five percent
 (25%) of their respective estimated annual operational expenses.

 In addition to the locally held short term operational reserves, parishes, schools, and
 other diocesan entities are also authorized to hold in local accounts restricted and
 designated unrestricted funds for special events or projects that are expected to be
 expended within eighteen (18) months. If such events or projects are expected to
 occur more than eighteen (18) months in the future, the parish, school, or other
 diocesan entity must deposit related restricted and/or designated unrestricted funds
 in a D&L Fund account or accounts.

 Custodial funds being held by the parish, school, or other diocesan entity should be
 regularly remitted to the appropriate intermediary or entity for which they have been
 collected and should not be included in the calculation of locally held, short term
 operational reserves.

 Since short term operational reserves and other permitted locally held funds are
 intended to meet short term cash flow needs, they cannot be invested in certificates
 of deposit, stocks, bonds, mutual funds, or other such instruments.

 Funds in excess of short term operational reserves and other permitted
 locally held funds must be deposited into a D&L account.




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Deposit Accounts

 The Diocesan Deposit and Loan Fund offers three types of savings accounts.
 Interest on savings accounts is calculated as simple interest and is paid annually in
 mid-July. Interest earned on savings accounts may either be reinvested or
 forwarded to the parish, school, or other diocesan entity upon request.

 Short Term Savings Account The short term savings account offers the greatest
 liquidity, but provides for a lower rate of return. Funds withdrawal requests that are
 not related to an unapproved capital project are generally processed and mailed
 within two to four (2 - 4) business days after receipt by the Diocesan Business
 Office. Requests for withdrawal from this account type must be submitted in writing
 and signed/submitted by the Pastor/Pastoral Administrator/Parish Life Coordinator
 (or his/her designee).

 Short term savings accounts should be used for:
   1. Operating reserves in excess of amounts in locally held funds in an amount
        up to one hundred percent (100%) of estimated annual operational expenses
        (i.e. twelve (12) months of operating cash) ; and/or
   2. Restricted and/or Designated unrestricted funds expected to be more than
        eighteen (18) months in the future; and/or
   3. A temporary account to hold a non-recurring and/or stock gift.

 Long Term Savings Account The long term savings account offers less liquidity
 but provides for a higher rate of return. Funds withdrawal requests that are not
 related to an unapproved capital project are generally processed and mailed within
 ten to twenty (10 - 20) business days after receipt by the Diocesan Business Office.
 Requests for withdrawal from this account type must be submitted in writing and
 signed by the Pastor/Pastoral Administrator/Parish Life Coordinator (or his/her
 designee), the chair of the parish pastoral council, and the chair of the parish
 finance council.

 Long term savings accounts should be used for:
    1. Longer term operating reserves (those in excess of twelve (12) months of
       operating cash); and/or
    2. Building reserve funds; and/or
    3. Estate, trust, or similar proceeds that are not needed for current operations or
       projects.

 Quasi-Endowment Savings Account The quasi-endowment savings account
 offers the highest rate of return, but is intended to be treated as an endowment.
 Funds withdrawal requests that are not related to an unapproved capital project are
 generally processed and mailed within sixty to ninety (60 - 90) days after receipt by
 the Diocesan Business Office. Requests for withdrawal from this account type must


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 be submitted in writing and signed by the Pastor/Pastoral Administrator/Parish Life
 Coordinator (or his/her designee), the chair of the parish pastoral council, and the
 chair of the parish finance council.

 Quasi-endowment savings accounts should be used for reserves in excess of thirty
 six (36) months of operating cash that a parish, school, or other diocesan entity
 believes it will not need for the foreseeable future. The account consists of
 unrestricted funds of an organization which management choses to treat as an
 endowment for internal purposes, but that can be accessed in times of significant
 financial distress.

 Transfers Transfers from short term savings accounts to long term savings
 accounts must be requested and documented in the same manner as a withdrawal
 from a short term savings account. Transfers from long term savings accounts to
 short term savings accounts must be requested and documented in the same
 manner as a withdrawal from a long term savings account.


Endowments and Quasi-endowments

 Parishes, schools, and other diocesan entities are authorized to deposit endowed
 and other permanently restricted funds at the Catholic Foundation of Eastern
 Montana (CFEM). Parishes, schools, or other diocesan entities are not authorized
 to “add to” an existing endowment or other permanently restricted fund or create
 any new endowments or permanently restricted funds with any funds except those
 so specifically designated by a third party donor. Parishes, schools, and other
 diocesan entities are not authorized to maintain any accounts other than those that
 are permanently restricted at the CFEM.


 In addition, if a parish, school, or other diocesan entity has a minimum of thirty six
 (36) months of unrestricted operating cash reserves on deposit in the D&L in any
 combination of short term and/or long term savings accounts, it is also authorized to
 create and/or supplement a quasi-endowment savings account. Parishes, schools,
 and other diocesan entities interested in establishing or supplementing a quasi-
 endowment savings account should contact the Diocesan Finance Officer for further
 information.




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Receipt of Non-recurring Gifts, including Stock Gifts

 Should a parish, school, or other diocesan entity be the recipient of a non-recurring
 gift such as a planned gift of $10,000 or more (such as proceeds from an estate, a
 bequest, life insurance proceeds, IRA’s, etc.) or any gift of securities (stocks, bonds,
 mutual funds, etc.), the funds must be temporarily placed in a short term savings
 account in the D&L Fund.

 After consultation with the governing bodies of the parish, school, or other diocesan
 entity, strong consideration is to be given to distributing the gift on a percentage
 basis among the following possibilities:

      ______%       to the entity for current use
      ______%       to the entity’s short term or long term D&L Fund account(s)
      ______%       to establish or supplement the entity’s quasi-endowment savings
                    account
      ______%       to establish or supplement the entity’s endowment held at the
                    CFEM (if permanently restricted by the donor)

 Any gift that a parish, school, or other diocesan entity elects to receive in which the
 donor specifies or restricts the use of the gift, must be used or endowed according
 to the donor’s intention.

 Stock gifts If a parish, school, or other diocesan entity receives stocks, bonds, or
 other financial securities from a donor, the securities must be transferred to the
 CFEM brokerage account for processing and liquidation. After being liquidated, the
 parish, school, or other diocesan entity will receive a deposit into a short term
 savings account in the D&L (as noted above) in the amount of the fair market value
 of the security as of the date of the transfer, less commission cost of the transfer
 and subsequent sale of the securities.

 Exception When non-recurring gifts as described above are specifically restricted
 by the donor to be used for an active, properly approved capital project or are
 permanently restricted to a parish/diocesan endowment, the parish, school, or other
 diocesan entity may bypass the requirement of the gift being deposited into a short
 term savings D&L account and deposit the funds directly into an account that will
 fulfill the restriction of the gift.




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Loans

 Deposits provide the source of funds for loans to other parishes, schools, and other
 diocesan entities in need of capital. All borrowing by parishes, schools, and other
 diocesan entities must be done through the Diocesan Deposit and Loan Fund with
 the approval of the CASC, the Diocesan Finance Council, and the Diocesan Bishop.
 No parish, school, or other diocesan entity is authorized to borrow funds from
 a commercial or private lending source. Funds for loans to parishes, schools,
 and other diocesan entities come from the Diocesan Deposit and Loan Fund, which
 is funded by excess revenues from parishes, schools, and other diocesan entities.
 These loans are intended to assist the various parishes, schools, and other diocesan
 entities in major projects when some financing is needed or operating capital is
 required. If borrowed funds are intended to finance a construction, renovation or
 repair project, the parish, school, or other diocesan entity is required to have fifty
 percent (50%) of the project cost in hand and demonstrate the ability to repay the
 loan. If the borrowing entity is not debt free at the time of the request for project
 approval, all outstanding loans must be renegotiated at current interest rates and the
 entity must demonstrate the ability to service the total debt load.

 The application for a loan is in the form of a letter to the Bishop (with copy to the
 Diocesan Finance Officer and the Diocesan Property Manager), summarizing the
 project/need, the cost, and the funds available toward the total cost of the
 project/need; and must be accompanied by a completed Parish Capital
 Expenditures & Loan Checklist form which can be found on the diocesan website
 (http://www.diocesegfb.org/Property Management/Parish Capital Expenditures and
 Loans Checklist.pdf). The letter and/or checklist must be signed by the
 Pastor/Pastoral Administrator/Parish Life Coordinator and the chairpersons of the
 Parish Finance Council and the Parish Pastoral Council. A copy of the Parish
 Finance Council Minutes approving the project and request to borrow funds must
 accompany the loan request.

 A loan application package will first be considered by the CASC. If the CASC
 recommends approval of a loan, it will then be forwarded to the Diocesan Finance
 Council to recommend approval of the project and loan, then to the Diocesan
 Worship Commission (if a new or renovated liturgical space is being contemplated),
 with final approval of the project/need and related loan resting with the Diocesan
 Bishop.

 All loans are provided at an interest rate established by the CASC annually. Loans
 are simple interest loans with no penalty for early payoff.




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Amortization A loan from the Deposit and Loan Fund will be amortized over a
period of fifteen (15) years by default. D&L loans can be amortized for a shorter
period of time or extended to twenty (20) years at the discretion of the board of the
CASC.

Parishes, schools, and other diocesan entities are encouraged to pay off loans as
quickly as possible. Any amount received in excess of the normal monthly payment
in a given month is applied to principal.

If payments are not made in a timely manner on amortized loans, such that at least
the interest due is not brought current by each December 31 and June 30, the loan
will revert to a non-amortized loan and accumulated interest will be added to the
principal each December 31 and June 30. With this process, the D&L Fund is not
carrying large interest due balances for long periods of time without earning interest
on the accrued interest. Such additional debt/principal will be subject to Diocesan
Policy regarding debt amortization. Amortized debt payments are to be included in
the yearly budget for expenses by parishes, schools, or other diocesan entities.

Outside Borrowing No parish, school, or other diocesan entity is allowed to
borrow money from an outside source. All borrowing must be from the Deposit and
Loan Fund according to the terms of this Policy.

Accounts Receivable & Short Term Loans Those parishes, schools, or other
diocesan entities which have not paid at least the interest due on its’ loan(s) and a
minimum of ten percent (10%) of their diocesan billing for three consecutive months
will be visited by a member of the Diocesan Staff to perform a review of the parish
books. Under the direction of an appointed Diocesan Staff person, a capital
campaign or other fund raising campaign may be required.

After the second ninety (90) days without substantial payment (minimum 50%), any
balance ninety (90) days or older may be charged interest at one half percent
(0.5%) per month.

The Diocesan Bishop may appoint a financial administrator for the parish, school, or
other diocesan entity if there has been no substantial response/progress by the end
of the budget year.

The total balance of all outstanding diocesan bills (not including unpaid interest from
the Deposit and Loan Fund) submitted to any parish, school, or other diocesan
entity prior to May 1st that remain unpaid on the immediately following June 30th will
be funded by the creation of a short term D&L Fund loan to be amortized over the
subsequent five (5) year period. The loan will be funded as of that same June 30th
and the proceeds of the loan will be used to bring the entity’s diocesan account



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